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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF PUERTO RICO

IN RE:
JUAN CARLOS PRADO NICASIO                                       CASE NO. 19-06224 MCF
         Debtor                                                 CHAPTER 13

JUAN CARLOS PRADO NICASIO                                       ADVERSARY NO. 19-462

Plaintiff
Vs.
DIONISIO BENITEZ RODRÍGUEZ ALSO D/B/A
FERRETERÍA MONTALVO;
FERRETERÍA MONTALVO INC.
MARILIN PRADO NICASIO
BANCO POPULAR DE PUERTO RICO

Defendants



 SECOND MOTION FOR SHORT EXTENSION OF TIME TO COMPLY WITH ORDER

TO THE HONORABLE COURT:

COMES NOW Plaintiff, through the undersigned attorney and very respectfully STATES

and PRAYS as follows:

1.       This Honorable Court ordered to address the issues and inform the status of the

discovery between the parties.

2.       We requested previously a short period of time to comply, until June 15, 2021 due to

experiencing during the past two weeks electricity shutdowns also affecting the internet

service and other essential services.

3.       We are requesting an additional short period of time, until June 18, 2021 because

we have been without electricity since the weekend and unable to work properly including

the documents review for the attorney for defendant.
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       WHEREFORE, it is respectfully requested to this Honorable Court to take notice of

the information herein stated, grant this Motion and allow until June 18, 2021 to comply with

this Honorable Court Order.

RESPECTFULLY SUBMITTED.

In San Juan, Puerto Rico, this June 15, 2021.

                               CERTIFICATE OF SERVICE
I HEREBY CERTIFY: That on this same date I electronically filed the above document with
the Clerk of the Court using the CM/ECF System which sends a notification of such filing to
attorney and Lyssette Morales Vidal, Esq..        I further certify that I have served this
document by electronic means to the CM/ECF participants and or a true and correct copy
by regular mail to the non CM/ECF participants and to all creditors and parties with interest.
RESPECTFULLY SUBMITTED.
In San Juan, Puerto Rico, this June 15, 2021.


                                           /s/Ada M. Conde
                                           ADA M. CONDE, ESQ.
                                           USDCPR 206209
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                                           PO Box 13268, San Juan, PR 00908-3268
                                           Tel: 787-721-0401
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